     Case 2:18-cv-03596-RGK-KS Document 14 Filed 11/06/18 Page 1 of 3 Page ID #:48



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     UNITED STATES OF AMERICA
13
                           UNITED STATES DISTRICT COURT
14
15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

16                                WESTERN DIVISION
17                                        ) CV 18-3596 RGK-(KSx)
     UNITED STATES OF AMERICA,            )
18                                        )
                 Plaintiff,               ) STATUS REPORT
19                                        )
          v.                              )
20   $213,694.00 IN U.S. CURRENCY,        )
     ET AL.,                              )
21                                        )
                                          )
22               Defendants.              )
                                          )
23
           On April 27, 2018, the Government filed this civil
24
     forfeiture action.     This action is related to the criminal case
25
     United States v. Richard Scott, CR 17-00754-RGK.          On June 25,
26
     2018, this Court entered a preliminary order of forfeiture
27
     (“POF”) in the Scott criminal matter, forfeiting Scott’s
28
     Case 2:18-cv-03596-RGK-KS Document 14 Filed 11/06/18 Page 2 of 3 Page ID #:49




1    interest in all of the property named in the criminal case and
2    this civil forfeiture case.
3           In compliance with the POF, the United States caused to be
4    published on an official government internet site
5    (www.forfeiture.gov) notice of the forfeiture of the specific
6    property listed in the POF and the intent of the United States
7    to dispose of the specific property in accordance with the law
8
     and as specified in the POF, and further notifying all third
9
     parties of their right to petition the Court within thirty days
10
     for a hearing to adjudicate the validity of their alleged
11
     respective legal interests in the specific property listed in
12
     the POF.
13
            In addition, the United States provided written notice,
14
     where practicable, to all persons believed to have an alleged
15
     interest in the specific property listed in the POF.
16
            On August 28, 2018, the government recognized the interests
17
     of the following third-parties in the property listed in the
18
     POF:
19
20          -First Republic Bank and Renee Sokol in the real property
21   located in Santa Monica, California, APN 4293-019-096;
22          -PNC Mortgage in the real property located in Santa Monica,
23   California, APN 4293-019-101;
24          -Bank of the Pacific in One 1991 Ferrari F40 vehicle, VIN
25
     ZFFMN34R2M0087589;
26
            -National Cooperative Bank, N.A., fka NCB, FSB (“NCB”) in
27
     the real property located in Santa Monica, California, APN 4293-
28
     020-054; and

                                          2
     Case 2:18-cv-03596-RGK-KS Document 14 Filed 11/06/18 Page 3 of 3 Page ID #:50




1          -Renee Sokol in One ring with yellow band and two earrings
2    seized from Wells Fargo safe deposit box number 296 on November
3    16, 2017.
4          The time for the filing of any other third party claims
5    expired on September 17, 2018.       As no other third-party claims
6
     remain, the ancillary proceeding has concluded and there are no
7
     claims or issues to adjudicate.
8
           On November 6, 2018, the Government filed an application
9
     for final orders of forfeiture to finally vest title in the
10
     property in the United States.       When the final orders are
11
     entered by the Court, the Government will move to dismiss this
12
     civil forfeiture action as moot.
13
14
15
     DATED: November 6, 2018            NICOLA T. HANNA
16                                      United States Attorney
                                        LAWRENCE MIDDLETON
17                                      Assistant United States Attorney
                                        Chief, Criminal Division
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20                                           /s/ Jonathan Galatzan
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24
25
26
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